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                                                                                                  October 27, 2020




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                                                                                     (212) 277-5875
                                                                                     ldroubi@blhny.com
                                                               October 7, 2020
VIA ECF
Honorable Andrew L. Carter
United States District Judge
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     Piligian v. Icahn School of Medicine at Mount Sinai, 17-CV-1975 (ALC) (SDA)

Dear Judge Carter:

        We represent plaintiff George Piligian, M.D. We write jointly with the Defendant in the
above-referenced case pursuant to the Court’s September 28, 2020 order that the Parties provide
the Court with a joint status report. We also write (1) to request an extension of time to file the
Joint Pre-Trial Order until January 15, 2021 (Dkt. Nos. 82 and 83); and (2) requesting leave to
update Plaintiff’s economic expert report and Defendant’s rebuttal economic expert report.

        Were it not for the exigencies of the coronavirus pandemic, the case would be trial ready,
subject to submission of pre-trial materials. Per the Court’s Individual Rules of Practice Rule 4(A),
the Parties have 30 days from the September 28, 2020 Order and Decision to submit their Joint
Pre-Trial Order. The Parties jointly request a 79-day extension, or until January 15, 2021, to submit
the joint Pre-Trial Order. The reason for the request is that because neither party is in a position to
conduct a live jury trial at this time and preparation of the Pre-Trial Order itself requires sustained
office exposure. Both parties agree to an extension of the 30-day time period. In addition, Plaintiff
seeks permission to update his expert report regarding his economic damages and Defendant seeks
an opportunity to update its rebuttal report. The additional time will also allow the Parties to
discuss settlement and, if needed, request a settlement conference before Magistrate Judge Aaron.

       We thank the Court for its time and consideration.




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October 7, 2020
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                                         Respectfully submitted,


                                         Luna Droubi
cc:   All Parties (via ECF)
